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                                                          CITATION BY CERTIFIED MAIL

                                                              Cause No: DC-18-47343


 THE STATE OF TEXAS:                                                   IN THE 440TH JUDICIAL DISTRICT
 GIBSON, SCOTT L./ VANESSA L. 699888                                   COURT
 -VS-                                                                  OF
 ZUCKERBERG, MARK                                                      CORYELL COUNTY, TEXAS
 FACEBOOK
 EXECUTIVE OFFICERS



NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with
the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after the date you were served
this citation and petition, a default judgment may be taken against you." TRCP.99

TO: CORPORATION SERVICE COMPANY DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY
ZUCKERBERG, MARK
FACEBOOK
EXECUTIVE OFFICERS,
211 E.7TH STREET, SUITE 620
AUSTIN, TEXAS 78701-3218




The nature of Plaintiff's demand is ful
Issued and given under my hand and s I


 Attorney for Plaintiff or Plaintiff:
 SCOTTNANESSA GIBSON
 699888
 A. HUGHES UNIT
 RT2BOX4400
 GATESVILLE, TX 75367



                                            CERTIFICATE OF DELIVERY BY CERTIFIED MAIL

Came to hand on the   13+~    of@         n,o.fpolff_,          5
                                                          at1 :l,.f         l.M.
                                                                     0' ~lock and executed the:~
same to CORPORATION SERVICE COMP:B!Y DEA CSC-LAWYERS mcoRPORATING SERVICE COMPANY J
                                                                                                       t o ~ u a \l'j 20     fl   by ~ailing the

ZUCKERBERG, MARK                                                                             '
FACEBOOK                                                                                     l

of this i tion with l1 ~PY of the Plaintiff's Petition were attached thereto.
By: --::.J~~OJ-'-~-:'\C)_=-----=--~----Deputy                  .
                                                                                 l,
                                                                                  ::
                                                                                        $ ]·-- .0 .
                                                                                                  -- • •   ~rJJli-_
EXECUTIVE OFFICERS Defendant by registered or certified mail, with delivery restricted t~ aq_gressee only, return receipt requested, a true copy


Fee for ervmg Citation$ k"\                                                       \     h          -~ ·           .     •
                               '«.                                                   t.   ;        -U
 FEES-$R                                          :':?-   -:za, l'\7                 '    , ',     .                          .
 certfl~O'.J-.     l~Q\Ofchl s/00015...J~J 'ot-d<->                                --\:i.~::::::1-.'~-County, Texas
                                                                                   ~~.e:.i...<.,"-"~"'--~----Deputy

 [Attach return receipts with addressee's signature to reverse side]\
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                               IN THE DISTRICT COURT
                                OF GAJESVILLE TEXAS


       SCOTT CVNN GIBSON-VANESSA LYNN,.
                                         §
       V.
                                         §
       ZUCKERBERG~FACEBDOK,                     TEXAS TORT CLAIM NO.
                                         §
       EXECUTIVE OFFICERS .

. ',
                  TEXAS TORT CLAIM: SIMPLE NEGLIGENCE AND GROSS
                      NEGLIGENCE PURSUANT TD V. T.C.A. CIVIL
                        PRACTICE AND REMEDIES CODE§ ~1 .001




       TD THE HONORABLE JUDGE OF SAID COURT:


               Come now, Scott Lynn Gibs0n/Vanessa, and respectfully sub-

       mits this Texas Tor~ claim and will show the Honorable Co~rt
       the following:


                                                                              \
                              1. STATEMENT OF THE CASE


               This is a Texas Tort Claim. Plaintiff is_ suing the Defend-
       ant(s)-Facebook and. its Chief Executive    • ffic;::ers   for failure to
                                                                                   ·~.-.:
       enforce its safety polices that prohibits its customers to use

                                                                      RI.ED
                                         1.                  tf!l/5~~
                                                                   FEB il2010
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its social media website to launch attacks angainst rrther peo-
ple, threaten to murder or other wise post comments that would
violate Texas Penal Code, which resulted in Plaintiff being in-
juried.
     This case is not against TDCJ or its officers. However,
TDCJ officers used Faceb • ok to attack Plaintiff and incited vio-

lence against her for filing a law suit against TDCJ. Plaintiff
has sued the Guards in Federal Court for violating her first
Amendment rights to seek redress of grievance, and the District

Court denied the Guards qualified immunity and set a triai date.
See Exhibit (1) and (2).


                                 ·i
                           2. J'URISDITIDN


     This.Court ha~ jurisditi • n pursuant to V.T.C~A. § 35.005
and· because this suit raises Texa.s Tort Claims that violates
Texas State laws.


                              3. VENUE


     This Court is the appropriate venue because the al~eged
violations occurred in Gatesville Texas.




                                 2.
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                                  4. Pt.!AINTIFF


                                                     .        -   .

          Plaintiff-Scott Lynn Gibson/Vanessa Lynn.is a State pri-
    soner and she is currently confined at the James Allred U~ity

    located in Iowa Park Texas, 77637.


                              5. DEFENDANTS



         The Defendant(s) is Facebook and its Chief Executive Off~
    icers (hereinafter C.E. •.)     a social media Corporation that pro-
    vides its customers an online for8m that allows them to commun-
    icate with anyone in the world.

         The Defend~nts owes Piaintiff and societ~ the duty not to

    allow its customers to use its services to launch attacks an-
    gainst others, to incite violence that pos~ a serious risk to

    another person· or to threaten to murder another person.
         The Defendant(s) has a written policy that requiries its·
    employees to monitor the contents that are posted on itq web-

    site and to ~elate iny harmful contents th~t a reasonable psi-
    son could determine that could cause harm to another person,
    especially_ when it involves threats tn murder someone or that
    encourages them to commit suicied or to injure themselves.




                                        3.




L
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      Faceb • 'ok I s C.E .C I s are suppose. to make· sure i.ts· smpl • y-
ess are enforcing its safety policies.


                                 6 •· FACTS



      In September· of 2016 the Texas Observer ran a s~0ry about
Plaintiff 1 s law s.ui t a·gainst TDCJ. In response ta this article,

TDCJ correctional officers Francois Jean-Baptiste and Susan

Di~s attacked Plaintiff on Facebook and Facebrrok did ndt de-
lete the attacks. In fact, Officer Jean-Baptiste posts~: "Realy,
he I s still going to fight i t· 11   •    Then he posted:· ."One to the back
of the 'he_ad 11   •


      Ms. Dias posted: "Gibson is in prison for murder and a

deadly assault on a corect~onal officer ... give him a state razor
and a bandaid: .. d • it ygurs~lf sex change .•. !" See Exhibit (1).



        As a resuit, this prompted • ~her prison guards ~n atta~k
Plaintiff by writting hsr bogus cases, misgendering her .to har-
ass· h~r. and encouraged he~ to casterate herself which pressured

Plaintiff into attempting to cut her pen~s aff and cutting her.
testicles with a razor.
      Thip caused Plaintiff to bleed·profussly and caused her
severe physical and emotional pain.




                                          4.
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    The Defendants allowed Mr. Jean-Baptista and Ms. Dias as
well as other prison guards to use Faceb~ok to attack.her. and
did not remove these post despite the fact they were clear

threats against Plaintiff and posed a .substantial risk of ser-
ious injury to her.
     In Plain ti ff I s 42 LI. 5. C. § 1983 the Honorable Judge Robe-rt

Pit~an ruled: "· .. It is difficult to imagine ITefendant 1 s all~
aged comments had any other motive besided retaliation consid-
ering they were posted online in response to the article ... ".

See Exhibit (2) at page 6. In addition the Judge held:         11   A

threat ··to shoot someone in the back of the·· head, or encour-

aging others to shoot someone in the back of the head are·
serious threats ... ". Exhibit (2).at page 6.


                          7. l.:EGAI.: C~AIMS



     Plaintiff claims that the Defendants committed a tort of

 negligence 'and gross negligence by failing to enforce its own

 safety policies that re~uires it to monitor and delete any
_ harmful contents that.could endanger another_person, or otheT~

 wise violate Texas Penal Code~
     The Defendants are liable under Texas Tort ~aw of Negli-
 gence when its omissions or acts endangsrs anothsr parson.




                                 - 5 •.
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          The Defendant's own safety policy             8   • nfers a duty to pr •-
     ··tct Plaintiff and society from·Its customers by prohibiting
I,
      them to post harmful contents tha·t threatens, bu.l·lies, incites
                                    -   ---   -   - -
      vioi·e-nce and to encm.1rage another ·to harm themsel f.



          The Defendants have been on constructive noticed for.a sub-
      st~ntial period • f-time·that its custome~a have ~nd continue

      to use Facebook to incite ·violenc~, threaten others, to en-
      c0urage others to commit stiicide and to post Videos of the~

      murd~ring p~ • ple or of them committing ~iolent crimes. There-

      fo.re, by not taking the approp.riate actions to stop. its cust-
      omers from posting .h~rmful content~, it has created an unsafe

      environment that not only poses a realistic danger to Plaint-

      iff, but.·aiso it- also puts society in. d'anger because its cust-
      omers can target anyone in the world and there is eEsentially

      ri~ way to ~revent an at~ack especia~ly if the co~tents provokes
      a mentally il~ pers0n t~ commit murder or incites a hate gr •~~
      to attack a person.

           Terrorist groups have even used Facebonk and other social
      media site~ to plot and carry ·out t~irorist·attacks. Considei~
      ing that Facebook-is fully aware of these dangers, it should




       Note: Facebook for years have allowed .hate groups to use Face-
      book te promote hate and to encoLlrage attacks. In addition, it
      has even been accused of allowin~ Russia to post fake news to
      interfere with US elections.
                                         6.
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            have deleted these attacks. The Defendants have sophisticated
                                         .'                  ..    ..
            technolo~y· that allows its employee~ to monitor what is be-

            ing posted
                   .   on Faceb • ok. Because
                                        ' . . the.Def~ndants
                                                    .        failed
                                                                .   . ta en-·
                                                                         .




            the Defehdants catlse~ Plaintiff a serious injury that caused

            her se'!e·re p·ain _- arid ~sufferr.:i.ng ....

                 Plaintiff claims ·t.hat. any reasonable pars.on would- have

            realized that the'se threats could cause a pers • .R seria-us in- .

            jur\r. One t   •   the back • f the head' is clearly a threat to mur.-

            ~der Pl~~niifr executfrnn ~tyt~·or encouraginci someone ·t~ shooi

            her in the back· of her head and or tg attack_ her. I~ additiai,

            it is obvious that threatening to shm:i;t: someone in. ·the· bac.k of

            their head vi • la_te.s ·rexas Penal code. Furtherern • re '· Ms. Dias Is"

            comments -clearly shows tlfat she was encour_aging Pl.aintiff to

            casterati herself·which p0ssiblV result in her dying, thui;

            it clearl~_violates Texas·Pe~al Cod~ for a ·prison guard to en-

            courage a prisoner t0 harm themself.



                 Plaintiff· claims .that the Defendants ham actual kn.owledge.

·.-··. -.   ·of .·these ·cpmmerits -and ·awareness :sf the extreme degr·ee ·of :risk --

            of. ,Serio.us danger that it p:osed because Facebook Is\ own. SE!f_ety

            policies requjres it to moryit • r"and .del~te any pust that_

            threatens others or e_nc • ur·age violence, yet_ - it failed · to en-

            forice its own safety poLicies~



                                                     7.
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             Pur~uant to U.T.C.A. Civ~l. Practice ~-ffeme~iis Code§

     ti-i     •
            ~lJ 1 -(11) -Gross.n~gligence means and a_~t or -omission: -(a)·

     which.when viewed objeEtivsly from the standpoint of the act-

---- ___ or __ at .the_ time :of the. _occurran_ce_. involves _an ... extreme_ degree

    · bf .risk;· considsring the·. probabil_i·ty and' magnitude of. the.
  · _ potent~al harm t • • t~ers, _and (b)- • f which the actor·has act-

     ual, ·subjective awi;lreness of the risk involved,· but nev_ert~e-

    'less proc~eds ~ith·consci • u~ indiffeiencie tb the'right~, ·safety,

    . or welfares of others.

             Under Texas Tort -law, a .Corporation safety .policies, -or

    ; l.ack· of thsm, can serve as the basis for g·r • ss ·negligence find-

     ing. Hqll       v. Diamond ·sharmr • ck Refining      C•.'   L:. p. 82 S.W.3d 5

      ( Tex_. App-San Antonio 2001).

              .Plaintiff claims that when Facebo • )< or its chi'ef Execut-

     ive Dfficiers did not enforce its own safety policies and de-

     pleted the attacks on Plaintiff, it was grossly negligent be-

     o~use when viewed adjectively ·fr • ~·their view p6int, it was

     • bv.i • us that ·a threat to shoot Plaintiff. in· the back of her

     head, posed an extreme degre~ of risk to her, and yet despite

     the obvious of this risk, th~e_y _:fa~;~~- ~o _d_~~-E':~e___ i ~- _which re-

    · sul_ted in Plain ti ff be1ng attaeked b'y. prison guards and .ser-:-

     iously injuring herself due to the crin~tant harassment.

            -' Plaintiff claims   tha.t f1Jr years Facebci_• k. has allowed its

      customers to use Faceb •• k to attack oth~rs or to viol~te.

      clea:i:>ly · established laws and despite this,_. it· stills allows



                                             B.
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  its customers to boldly attack people, to incite violence
  and use their website has a safe haven to commit crimes with-
  out taking any true corrective steps to prevent this.
     Facebook canriot -claim that it was· ri"c:it aware of· this fact
  when it has been put on· notice ~any times that its customers

  are using Faceb •• k ~ • commit.crimes.
     Pl a inti ff .claims that i•f Faceb •• k does not have safety
  policies in place to prevent its customers from attacking

  others or violating th.a law, it was grossly negligent because
  when it does not limit oi restrict what it customers can

  post on line, it creates a situation where ·they will do any-

  thing which can cause a person serLous injuries.


     Plaintiff claims that·faceb • ok and its C.E.D. 1 s had act-

  ual, subjective awareness of the      risk involved in allowing
  its customer to post threats or to encourage ~thers to harm

  themselves but nevertheless continued to al'low them to att-

  ack Plaintiff with conscious indifference to her rights,
  safety or welfare. The fact that Facebook ha~ been aware of

  its customers committing crimes onli~e and have failed-to -
  stop the~, shows that Facebriok and ·its    c:E. • .•s   have and
  continue to proceed with conscious indiffere_nce to tha rig-

  ths of others, their safety and welfare.




                                   9.
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     To all •~ someone to attack others and not take actions to
 stop the attacks,· is evil and it shows that Faceb • ok does

 not care what its customers does as long as they pay for Face-
 b.ook I s services.
      Plaint~ff claims that Facebo • k and its C.E.D. 1 s is the

  "vice Principe!" and the acts or omissions of its employees
 made by not enforcing its own safety policies or creating
  safety policies that would monitor and delete any contents

  that harm another or that would violate Texas Penal Code,
 ·Placed the liability on Facebook because Facebook hired them,
 trained them and confided the management of· the .whole or a

  division of the bus_iness to them. Therefore, urider Texas
  Tort law, the Corporation itself liable. Hammering Oaks, INN.

 ~- Edwards, 95B' S.W.2cl 3B7,3B9 (TEX.1997).


     WHEREFORE PREMISES CONSIDERED, Plaintiff request the Court

  to grant the following relief:

  (T} rule that Facebook violated Plaintiff's rights u~der Texas
  Tort laws,

··-c2) Grant Plaintiff one million in ~omp~n~at • iy,

  (3) Grant Plaintiff 250.000 for emotional and physi~al injury
  it caused her,

  (4) Grant Plaintiff 5 •• .000 in ~unitive damagBs,
  (5) Attorney fees and Court cost,

  (6) Grant Plaintiff a jury trial.
                                                Respectfully submitted,·
                                1 •.            Scott L. · Gibson
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                                           AFFIDAVIT    ( t   <:.
                                           JJC.. -- 1i -l{f5~
     I, Scott L. Gibson hereby swear under penalty of perjury
that the fol,l • wing is a true and correct list of hi;:ir previous
law· suit history: -               - ·· ··


    I have filed four Federal Rights law suits pursuant to
42 U.S.C. § 19B3. These law suits were filed in the f~llowing
Federal Courts:
    1. Plaintiff's first law suit was against UTMB for denying
me prescription glasses.affitl~she filed it in the United states
District Court-Southern district of Texas. It was denied on
its merits on ·or about 2005.
    2. Plaintiff's second law suit was filed against TDCJ's
Denist. This suit was also filed in the southern district • f
Texas, and it was denied on its merits ..
    3. Plaintiff's third law suit was also filed against UTMB
and the Director of TDCJ for dening her a sex change. This
suit was filed in the· United States district c-ourt of T:exas-
Waco Division, and the Trial court denied it for failure to
State a claim. However, Plaintiff appealed it to the 5Th Cir.
                                                                                        ~1
Court of appeals, and the Court Appointed P.laintiff the uni-
versity of Virginia Sahrrol of law ta represent her, and the
c~~e is depending. See: Scott L. Gibson/Vanessa Lynn v. Bryan
Collier, Dr. D. Greene, 5th Cir. court of Appeals-16-51148.
    4. Plaintiff's
    -        --·  -
                    fourth
                        -
                           law suit was filed against a TDCJ
                                   "   "                 "


guard for retaliation • This suit is still pending. The Judge
denied the Guards summary judgment motion and denied him qual-
ified immunity, and set a trial date. See Ex. (b).
    Plaintiff has never been cited for abuse ·• f writ.

                                                         /s/
                                                                    ,,« ,~
                                                                r~0J£/4__.,
                                                                             '9:   f/
    q:q~~                                                      Scott L. Gibson 699888




        ~I.
         FEB 1J 201a

                            ...-
                       .... •
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                                                                                                              Attention Carrier on Route #C015
BECKY MOORE
CORYELL COUNTY DISTRICT CLERK            · ELECTRONIC SCAN REQUIRED                                             This piece is being monitored for
PO BOX4                                                                                                         Delivery and Scanning accuracy
GATESVILLE, TX 76528-0004




                                            F  USPS FIRST-CLASS®
                                           BECKY MOORE
                                           CORYELL COUNTY DISTRICT CLERK
                                           POBOX4
                                           GATESVILLE, TX 76528-0004

                                                                                             Zone2



                                                CORPORATION SERVICE COMPANY DBA
                                                CSC-LAWYERS INCORPORATING SERVICE
                                                211 E 7TH ST STE 620
                                                AUSTIN, TX 78701-3218
                                                                                                        Non-Machinable Parcel
FIRST-CLASS®
DATED MATERIAL




47343




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                                                                                                      Delivery and Scanning accuracy
GATESVILLE, TX 76528-0004




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                                        COUNTY DISTRICT CLERK
                                GATESVILLE, TX 76528-0004

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                                      CORPORATION SERVICE COMPANY DBA
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                                      211 E 7TH ST STE 620
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